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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
 ____________________________________
                                      :
 IN RE: AMERICAN MEDICAL              :
 COLLECTION AGENCY, INC.,             :  Civ. No. 19-md-2904 (MCA) (MAH)
 CUSTOMER DATA SECURITY               :
 BREACH LITIGATION                    :  ORDER
                                      :
 ____________________________________:

        THIS MATTER having come before the Court for a scheduling conference pursuant to
 Rule 16 of the Federal Rules of Civil Procedure held on the record on May 16, 2022; and for good
 cause shown:

        IT IS on this 26th day of May 2022,

        ORDERED THAT:

                                         I.      DISCLOSURES

        1.      Fed. R. Civ. P. 26 disclosures are to be exchanged on or before [completed].

                                          II.     DISCOVERY

         2.     Fact discovery is to remain open through January 16, 2023. No discovery is to be
 issued or engaged in beyond that date, except upon application and for good cause shown.

        3.      The parties may serve interrogatories limited to twenty-five (25) single questions
 and requests for production of documents and requests to admit.

                a. The parties shall serve the next round of written discovery by May 27, 2022.

                b. The parties shall begin production of ESI documents responsive to First Sets of
                   Requests for Production no later than May 28, 2022.

                c. The parties shall substantially complete document production in response to
                   written discovery served by May 27, 2022 by October 10, 2022.

                d. The parties shall serve all written discovery no later than November 1, 2022.

         4.      Depositions of fact witnesses and individuals who will give lay opinion testimony
 based on particular competence in an area (including but not limited to treating physicians) are to
 be completed by January 16, 2023. No objections to questions posed at depositions shall be made
 other than as to lack of foundation, form or privilege. See Fed. R. Civ. P. 32(d)(3)(A). No
 instruction not to answer shall be given unless a privilege is implicated. There shall be a maximum
 of thirty (30) factual depositions to be taken by each side without prejudice to the parties’ rights to
 renew their requests for additional depositions.
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         5.      Counsel shall confer in a good faith attempt to informally resolve any and all
 discovery disputes before seeking the Court’s intervention. See L. Civ. R. 37.1(a)(1); see also L.
 Civ. R. 16.1(f)(1). Should such informal effort fail to resolve the dispute, the matter shall be
 brought to the Court’s attention via a joint letter that sets forth: (a) the specific discovery requested;
 (b) the response; (c) efforts to resolve the dispute; (d) why the complaining party believes the
 information is relevant and why the responding party’s response continues to be deficient,
 including citations to appropriate caselaw; and (e) why the responding party believes the response
 is sufficient. No further submissions regarding the dispute may be submitted without leave of
 Court. If necessary, the Court will thereafter schedule a telephone conference to resolve the
 dispute.
         Failure by any party to meet and confer in good faith, or to participate in the joint-letter
 protocol described above, absent good cause, will result in the Court deeming that party to have
 waived its right to take any position on the discovery issue(s) in dispute.
         No discovery motion or motion for sanctions for failure to provide discovery shall be filed
 before utilizing the procedures set forth in these paragraphs without prior leave of Court.
         Discovery disputes (other than those arising during depositions) shall be brought to the
 Court’s attention no later than November 14, 2022. The Court will not consider any discovery
 dispute (other than those arising during depositions) brought to its attention after this date.
 If an unresolved dispute arises at a deposition, then the parties must contact the Chambers of the
 Undersigned for assistance during the deposition.

                                    III.    FUTURE CONFERENCES

        6.     There shall be a telephone status conference before the Undersigned on August 30,
 2022 at 3:00 p.m. Counsel shall dial 1-888-684-8852 and enter access code 1456817# to join the
 call.

        7.      The Court may from time-to-time schedule conferences as may be required, either
 sua sponte or at the request of a party.

         8.      Counsel should be prepared to discuss settlement at every conference with the
 Court. The senior attorney in charge of the case must attend all settlement conferences and
 client(s) with full settlement authority must either attend or be immediately available by telephone.
 In cases involving insurance companies and other corporate or business entities, it is expected that
 the executive who will make the final decision on the settlement will be the person available for the
 conference.

        9.       Since all dates set forth herein are established with the assistance and knowledge of
 counsel, there will be no extensions except for good cause shown and by leave of Court, even with
 consent of all counsel.

        10.      A copy of every pleading, document or written communication with the Court shall
 be served on all other parties to the action. Any such communication which does not recite or
 contain a certification of such service may be disregarded by the Court.

                                             IV.     MOTIONS

         11.   Any motion to add new parties or amend pleadings, whether by amended or third-
 party complaint, must be filed not later than November 4, 2022.
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         12.     No motions are to be filed without prior written permission from this Court. All
 dispositive motions must first be subject to a dispositive motion pre-hearing. Discovery must be
 completed prior to the filing of a dispositive motion. These prerequisites must be met before any
 motions are filed and the motions will be returned if not met. All calendar or dispositive motions,
 if permitted, shall comply with Local Civil Rules 7.1(b) and 56.1.

        13.    Plaintiffs’ motion for class certification shall be governed by Appendix N as
 follows:
               a.      Plaintiffs serve their motion for class certification and serve any expert
                       reports in support of class certification in accordance with the requirements
                       of Rule 26 containing a complete statement of all opinions the expert may
                       offer with respect to class certification (as well as all other information
                       required to be included in the written report pursuant to Rule 26(a)(2)) by
                       February 15, 2023. Plaintiffs shall make any expert(s) available for
                       deposition no later than 30 days after service of the motion for class
                       certification, unless Defendants agree to a later date.

               b.      Defendants serve their brief(s) in opposition to Plaintiffs’ motion for class
                       certification, serve its motion(s) challenging Plaintiffs’ class certification
                       experts, and serve any expert reports in opposition to class certification in
                       accordance with the requirements of Rule 26 containing a complete
                       statement of all opinions the expert may offer with respect to class
                       certification (as well as all other information required to be included in the
                       written report pursuant to Rule 26(a)(2)) by May 16, 2023. Defendants shall
                       make any expert(s) available for deposition no later than 30 days after
                       service of their Opposition to Plaintiffs’ motion for class certification,
                       unless Plaintiffs agree to a later date.

               c.      Plaintiffs serve reply briefs in support of their motion for class certification,
                       serve their motion(s) challenging Defendants’ class certification experts,
                       and serve any rebuttal expert reports in support of class certification by June
                       30, 2023.

               d.      The Parties shall file with the Court all papers in support of and in response
                       to the Plaintiffs’ motion for class certification, including any Reply by July
                       7, 2023. To prevent unnecessary burden with respect to the logistics of
                       filing all papers and in the correct sequence, the Parties shall work
                       cooperatively to ensure that all papers are electronically filed no later than
                       5:00 pm ET, unless otherwise agreed to by the Parties.

     14.  Dispositive motions, if any, are to be filed by leave of Court only, by [TO BE
 DETERMINED].

                                           V. EXPERTS

        15.      All affirmative expert reports shall be delivered by [TO BE DETERMED]. Any
 such report is to be in the form and content as required by Fed. R. Civ. P. 26(a) (2) (B).
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        16.     All responding expert reports shall be delivered by [TO BE DETERMINED]. Any
 such report shall be in the form and content as described above.

       17.     Expert discovery, including the depositions of any expert witnesses, shall be
 completed on or before [TO BE DETERMINED].

        18.      No expert shall testify at trial as to any opinions or base those opinions on facts not
 substantially disclosed in his report.


                              VI.     FINAL PRETRIAL CONFERENCE

       19.   A final pretrial conference shall be conducted pursuant to Civil Rule 16(d) on [To
 Be Determined].

           20.    All counsel are directed to assemble at the office of plaintiff's counsel not later than
 ten (10) days before the pretrial conference to prepare the Final Pretrial Order in the form and
 content required by the Court. Plaintiff’s counsel shall prepare the Pretrial Order and shall submit
 it to all other counsel for approval.

        21.     The original of the Final Pretrial Order shall be delivered to Chambers not later than
 forty-eight (48) hours before the pretrial conference. All counsel are responsible for the timely
 submission of the Final Pretrial Order.

      22. FAILURE TO FOLLOW THIS ORDER WILL RESULT IN SANCTIONS
 PURSUANT TO Fed. R. Civ. P. 16(f) and 37.



                                                 s/ Michael A. Hammer
                                                 Honorable Michael A. Hammer, U.S.M.J.
